Case 2:05-cr-20239-STA Document3 Filed 07/13/05 Page 10f2 Page|D4
UNITED STATES DISTRICT coURT

FOR THE
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WESTERN DISTRICT OF TENNESSEE

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UNITED STATES OF AMERICA

VS.

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CALVIN MONROE )
)

APPLICATION, ORDER and WRIT F‘OR HABEAS CORPUS AD PROSEQUENDU'M

The United States Attorney's Office applies to the Court for a Writ
to have CALVIN MONROE, DOB: 10/20/1979, BOOKING #: 05112156l now being
detained in the Criminal Justice Center, 201 Poplar Ave., Memphis, TN,
appear before the Honorable Diane K. Vescovo on Monday, July 18th, 2005
@ 2:00 p.m. for Initial Appearance and for such other appearances as this
Court may direct.

Respec:tful§].}r submitted this 13th day of uly 2005.

 

l§./ s§fcf-:)GIHLULY, .;l'R.w

Spec Assistant U. S. Attorney
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Upon consideration of the foregoing Application, DAvID JOLLEY, U.S.
MARSHAL, WESTERN DIsTRIcT oF TENN'ESSEE, MEMPHIS, TN., SHERIFF/WARREN, SHELBY COUNTY
CRIMINAL JUSTICE CENTER, MEMPHIS, TN.
YOUR ARE HEREBY COMMANDED to have CALVIN MONROE, DOB: 10/20/1979,
BOOKING #: 05112156, appear before the Honorable Diane K. Vescovo at the

date and time aforementioned.

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ENTERED this di day of July, 2005`. W;th mule 55 and/orsz{b)Fnch on fZ'/Q:_/O$__ _.._

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UNITED STATES MAGISTRATE JUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
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E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

